Case 2:10-md-02179-CJB-DPC Document 11876-9 Filed 11/20/13 Page 1 of 3




                   Exhibit H
           Case 2:10-md-02179-CJB-DPC Document 11876-9 Filed 11/20/13 Page 2 of 3


Godfrey, Richard C.

From:                  Brian Barr [BBarr@levinlaw.com ]
Sent:                  Wednesday, January 30, 2013 1:22 PM
To:                    Godfrey, Richard C.; Bloom, Wendy L.
Cc:                    Jim Roy; SHERMAN@hhklawfirm.com ; Calvin@fayardlaw.com ; caroline@fayardlegal.com ;
                       Sally_Shushan@laed.uscourts.gov
Subject:               Supplemental Information Plan


Rick/Wendy/Judge Shushan:



Attached to this email are the components of the entire supplemental information plan. I have
included a memorandum that explains each piece of the plan as well as scripts and, where
applicable, audio and video files for the TV and radio spots. In accordance with the settlement
agreement, we are providing these materials to BP for review and comment and to the Court for
approval. We would like to implement the plan as soon as possible so we would appreciate your
attention to this matter and a quick turnaround on any comments you intend to offer. Class Counsel
believes the Plan should be approved as designed as it is consistent with the Economic Settlement
Notice Program and accurately describes the settlement agreement.



I have binders prepared so that each of you can review the complete content in that format if
preferred. The binders also contain CDs that have the relevant files.



Judge Shushan — I can have your binder delivered.



Rick/Wendy — please let me know if you would like a binder delivered somewhere in New Orleans or
if you want it sent directly to you.




Brian Barr
Attorney at Law
Levin, Papantonio, Thomas, Mitchell, Echsner, Rafferty & Proctor, P.A.
316 S. Baylen Street
Pensacola, FL 32501
850-435-7044 V
850-436-6044 F




                                                    1
         Case 2:10-md-02179-CJB-DPC Document 11876-9 Filed 11/20/13 Page 3 of 3


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HAVE RECEIVED THIS COMMUNICATION IN ERROR. THEN DELETE IT. THANK YOU.




Attachments:
    Supplemental Information Plan Memorandum.pdf (66921 Bytes)
    draft psc campaign budget 1.29.13.xlsx (10385 Bytes)
    legal settlement announcement media plan v26.xlsx (121964 Bytes)
    bp psc freezeframe tv 1.29.13.docx (61621 Bytes)
    bp psc tv answers script 1.29.13.docx (60869 Bytes)
    bp_answers_ver-j.mov (5474672 Bytes)
    bp_freezeframe_ver-j.mov (5891496 Bytes)
    final juneau script .docx (14832 Bytes)
   juneau_501_ver_c-viewer. mov (3148626 Bytes)
    claim al la ms radio 60 1-25-13.mp3 (910049 Bytes)
    claim fl radio 60 1-25-13(2).mp3 (919223 Bytes)
    psc radio 1.2.13 for florida-2.docx (77535 Bytes)
    psc radio 1.2.13 for lamsal-2.docx (75621 Bytes)
    bp ads_v1 r1 8.5x10.pdf (905287 Bytes)
    bp google adwords -2.xls (36928 Bytes)
    bp tweets-2.docx (89418 Bytes)
    fb-bp-ad4-100x72.jpg (5095 Bytes)
    fb-bp-ad5-100x72-1.jpg (4900 Bytes)
    draft phone script for the bp deepwater horizon economic settlement 01 03 13.docx (14958 Bytes)




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